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United States District Court FILED
Western District of Texas Jul 26, 2024
El Paso Division Clerk, U.S. District Court
Western District of Texas
By: M G
Deputy

UNITED STATES OF AMERICA

vs. No: EP:12-CR-00849(2)-KC

(2) ISMAEL ZAMBADA GARCIA

COP 6G CO? GO? On 60?

Defendant

ORDER ACCEPTING WAIVER OF
PERSONAL APPEARANCE AT ARRAIGNMENT

Defendant filed a Waiver of Personal Appearance at Arraignment, signed by defendant
and defendant’s attorney, in which defendant affirms:

° Defendant has received a copy of the charging document;
° Defendant has read the charging document or had it read to him/her;
Defendant understands that he/she has the right to personally appear at arraignment; and

Defendant desires to waive personal appearance at arraignment and reading of the
charging document, and tenders a plea of “not guilty.”

Pursuant to Federal Rule of Criminal Procedure 10(b), the Court hereby ACCEPTS the
waiver of appearance and directs that a plea of NOT GUILTY be entered for defendant.

It is so ORDERED this 26th day of July, 2024 .

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A . BERTO
UNITED STATES MAGISTRATE JUDGE
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
USA §
vs. NO: EP:12-CR-00849(2)-FM
(2) ISMAEL ZAMBADA GARCIA

WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
AND
ENTRY OF PLEA OF NOT GUILTY

COMES NOW Defendant in the above-referenced case who, along with his/her
undersigned attorney, hereby acknowledges the following:

1) Defendant has received a copy of the indictment or information in this case. Defendant
understands the nature and substance of the charges contained therein, the maximum penalties
applicable thereto, and his/her Constitutional rights, after being advised of all the above by
his/her attorney.

2) Defendant understands he/she has the right to appear personally with his/her attorney
before a Judge for arraignment in open Court on this accusation. Defendant further understands
that, absent the present waiver, he/she will be so arraigned in open Court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal
appearance with his/her attorney at the arraignment of this case and the reading of the indictment
or information, and by this instrument, tenders his/her plea of "not guilty." The defendant
understands that entry by the Court of said plea for defendant will conclude the arraignment in

this case for all purposes. /
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Date: = -AG- A ‘ eo Lf et ae
DEFENDANT

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Signature of Attorney

ORDER

APPROVED by the Court. A plea of "Not Gulity" is entered for defendant effective this date.

Date:

UNITED STATES MAGISTRATE JUDGE
